         Case 1:21-cv-07863-VEC Document 12 Filed 10/04/21 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK

    Kate, et al.

                    Plaintiffs,

                        vs.                  ORDER TO SHOW CAUSE

    de Blasio, et al.                         Civil Action No. 1:21-cv-07863

                    Defendants.



       Upon consideration of the annexed (1) Plaintiff’s Memorandum of Law in Support of

Motion for a Temporary Restraining Order and Preliminary Injunction; (2) Declaration of Sujata

Gibson, dated October 4, 2021, along with the exhibits attached thereto; and (3) Expert Declaration

of Dr. JAYANTA BHATTACHARYA, M.D., PhD; (4) Expert Declaration of DR. MARTIN

MAKARY, M.D., M.P.H. ; (5)Declaration of Michael Kane; (6) Declaration of William Castro;

(7) Declaration of Margaret Chu; (8) Declaration of Robert Dillon, IV; (9) Declaration of Robert

Gladding; (10) Declaration of Anthony Block; (11) Declaration of Heather Jo Clark; (12)

Declaration of Nwakaego Nwaifejokwu; (13) Declaration of Trinidad Smith; and (14) Plaintiff’s

Complaint, filed September 21, 2021, and good cause having been shown, it is hereby

       ORDERED that the above-named Defendants appear before this Court, at Room

________, United States District Court for the Southern District of New York, located at

____________________________           on         __________________________,           2021     at

_____:_____o'clock in the [ ] forenoon [ ] afternoon thereof, or as soon thereafter as counsel may

be heard, to show cause why preliminary injunctive relief not be issued pursuant to Rule 65 of the

Federal Rules of Civil Procedure:
         Case 1:21-cv-07863-VEC Document 12 Filed 10/04/21 Page 2 of 3




       Granting a preliminary injunction staying the Order of Dave A Chokshi, M.D.,

Commissioner of the New York City Department of Health and Mental Hygiene entitled “Order

of the Commissioner of Health and Mental Hygiene to require Covid-19 Vaccination for

Department of Education Employees, Contractors, and Others” (DOE Vaccine Mandate) and

reinstating anyone terminated or suspended for noncompliance with the DOE Vaccine Mandate

pending resolution of these proceedings; and it is further

       ORDERED that sufficient cause having been shown, pending a hearing of the Plaintiff’s

application for preliminary injunction, but in no event more than fourteen days beyond the issuance

of this order unless extended by the Court, a temporary restraining order is GRANTED, the DOE

Vaccine Mandate is stayed, and any adverse employment action taken in reliance on the regulation

is retroactively enjoined, such that implementing employers must reinstate suspended or

terminated employees and restore any benefits or other terms of employment that were withheld

on the basis of lack of compliance with the mandate; and it is further

       ORDERED that no security should be required of the Plaintiff because Defendants would

incur no additional expenses from the relief requested herein; and it is further

       ORDERED that a copy of this order, together with the papers upon which it is granted, be

personally served upon the Defendants or via email on their attorneys on or before

__________________________, _____________ at _____:_____o'clock in the [ ] forenoon

[ ] afternoon and that such service be deemed good and sufficient; and it is further

       ORDERED that opposing papers, if any, shall be served by email on Sujata Gibson, Esq.

Gibson Law Firm, PLLC, attorneys for the Plaintiff, received on or before ________________,

2021 at _____________ a.m./p.m.


       Dated:                    , New York
Case 1:21-cv-07863-VEC Document 12 Filed 10/04/21 Page 3 of 3




                                 __________________________________
                                 United States District Judge
